This was an application to disbar the respondent, made by Henry H. Morange, who was also the attorney and counselor of the court. The only point presented is, that the court below had no power to order the disbursements in addition to ten dollars costs, upon denying the application, to be paid by the applicant; and the Code, section 315, is claimed to be applicable and controlling. We think the court had power to make the order appealed from, by virtue of its authority over the conduct of its attorneys and officers, independent of the provisions of the Code. The proceeding is of a public nature and quasi criminal, and when instituted by an attorney in bad faith, as was found by the General Term, it was competent for that court to provide indemnity to the aggrieved party by imposing the burden upon the accuser.
The manner of exercising the power is not reviewable.
All concur.
Appeal dismissed. *Page 597 